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HOW CAN WE BEST UTILIZE AND LEVERAGE GLENN CLARY?

Though we know that Mr. Clary will have a full schedule with President Prevo,
serving in the vital role of strategic counsel and personal assistance, we are
hopeful that he may also be utilized in some of the following ways.

STRATEGIC PARTNERSHIPS & ALLIANCES FOR THE UNIVERSITY (SOFT LOBBYING)

e Network with policymakers at the Federal Level: elected officials, nonprofit
centers and lobbying groups.

e Partner with key stakeholders in Conservative House Caucuses and Support
Staff: Freedom Caucus, Liberty Caucus, Republican Main Street Partnership,
Republican Study Committee.

e Partner with key stakeholders in key Senate Committees, also Senate
Republican Conference.

e Partner with think tanks and public policy institutes: Heritage Foundation,
American Enterprise Institute, CATO Institute, Hudson Institute, &
Discovery Institute

e Partner with key religious liberty groups: Samaritans Purse, Faith &
Freedom Coalition and Family Research Council.

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HERE IS OUR TARGETED LEGISLATION IN THE 117'° CONGRESS

RELIGIOUS LIBERTY

« Defend Religious Freedom during the COVID-19 lockdowns of Governors
and Biden/Harris Administration.

e Oppose the Equality Act HR-5

e Oppose Fairness for All Act: Republican Version of Equality Act, just as bad.

e Oppose the Do No Harm Act: Hollows at Religious Freedom Restoration Act.

e Protect Religious Liberty of Religious Institutions & Schools, Military
Personnel & Chaplains, & Medical Professionals

PRO-LIFE

e Support the No Taxpayer Funding for Abortion Act: would codify Hyde
Amendment into Law.

e Support the Born Alive Abortion Survivors Protection Act: Need to Force a
Vote on This in Congress, even if defeated.

e Support the Pain Capable Unborn Child Protection Act: didn’t pass vote, but
this needs to be reintroduced by GOP Congress.

e Support the Conscience Protection Act: granting religious rights to Medical
workers.

HIGHER EDUCATION
e Support Protection of Women and Girls in Sports Act of 2021
e Support Education Savings Accounts for Military Families Act of 2021
e Support Reopen Schools Act.

e Support Make Education Local Act of 2021
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°« Support Preserve American History Act.
e Dr. Rob Ritz has other issues that he tracks regarding policy and budget.
BORDER PROTECTION AND SECURITY

e Advocate for anti-Human Trafficking Laws: these issues have popular
support among younger generation and would have support of all
Republicans and many Democrats.

ELECTION INTEGRITY ISSUES
